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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE                       No. 2:20-cv-13134
 RUBINGH,
                                                   Hon. Linda V. Parker
               Plaintiffs,
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, JOCELYN BENSON, in her
 official capacity as Michigan Secretary of
 State and the Michigan BOARD OF STATE
 CANVASSERS,

              Defendants.

  CITY OF DETROIT’S MOTION TO INTERVENE AS A DEFENDANT

        The City of Detroit (the “City”), by and through counsel, hereby seeks to

intervene in this matter pursuant to Fed. R. Civ. P. 24(a) and Fed. R. Civ. P. 24(b).

This Motion is supported by the accompanying Brief in Support.

        On November 26, 2020, Counsel for the City sought concurrence in the relief

requested herein, but Plaintiffs did not concur.

        WHEREFORE, for the reasons specified in the attached Brief in Support, the

City of Detroit respectfully requests that this Court enter an order allowing it to

intervene in this matter.
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                                            Respectfully submitted,

November 27, 2020                           FINK BRESSACK

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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES
DAVID HOOPER and DAREN WADE                  No. 2:20-cv-13134
RUBINGH,
                                             Hon. Linda V. Parker
            Plaintiffs,
  v.

GRETCHEN WHITMER, in her official
capacity as Governor of the State of
Michigan, JOCELYN BENSON, in her
official capacity as Michigan Secretary of
State and the Michigan BOARD OF STATE
CANVASSERS,

            Defendants.


       BRIEF IN SUPPORT OF CITY OF DETROIT’S MOTION TO
                  INTERVENE AS A DEFENDANT
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                  STATEMENT OF ISSUES PRESENTED

  1. Whether the City of Detroit should be permitted to intervene in this matter as

     of right where the City meets each requirement for intervention as of right.

           The City of Detroit answers: Yes.




  2. Whether, in the alternative, the City of Detroit should be permitted to

     intervene in this matter by leave, where the City has met each requirement for

     permissive intervention.

           The City of Detroit answers: Yes.




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                     MOST CONTROLLING AUTHORITIES

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U.S. v. City of Detroit, 712 F.3d 925 (6th Cir. 2013)


Fed. R. Civ. P. 24




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                                 INTRODUCTION

      This is one of several lawsuits filed by the Donald J. Trump for President

campaign and its allies, raising similar baseless claims. One by one, those lawsuits

have been rejected by the courts or voluntarily dismissed. In the case at bar, most of

the legal “theories” purport to rely on events at the TCF Center, where Detroit

absentee ballots were counted in an operation managed by the Detroit City Clerk. 1

The City of Detroit is uniquely positioned to participate in the defense of this matter.

The City of Detroit also has a compelling interest in defending against such

allegations in order to guarantee that its citizens are not disenfranchised. Intervention

should be granted as of right.

                                    ARGUMENT

 I.       THE CITY IS ENTITLED TO INTERVENE AS A MATTER OF
          RIGHT.

      Intervention as of right is governed by Fed. R. Civ. P. 24(a). The Rule states:



      1
         Inexplicably, the Complaint (consistent with most of the others Complaints
which have been filed and withdrawn) makes numerous allegations relating to
“Wayne County’s” operation of the absent voter counting boards at the TCF Center
(formerly Cobo Hall). See, e.g., Compl. at ¶¶ 63-79. ECF No. 1, PageID.20-26. This
is despite clear guidance from Court of Claims Judge Cynthia Stephens, advising
plaintiffs in the first of this series of lawsuits that “the day-to-day operation of an
absent voter counting board is controlled by the pertinent city or township clerk.”
Donald J. Trump for President, Inc. et al v Benson, Mich. Court of Claims Case No.
20-000225-MZ, Opinion and Order (Nov 6, 2020) (Ex. 1). The absent voter counting
boards at the TCF Center were operated under the authority of the Detroit City Clerk,
not Wayne County.

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      (a)    Intervention of Right. On timely motion, the court must permit
             anyone to intervene who:
             (1)     is given an unconditional right to intervene by a
                     federal statute; or
             (2)     claims an interest relating to the property or
                     transaction that is the subject of the action, and is so
                     situated that disposing of the action may as a
                     practical matter impair or impede the movant's
                     ability to protect its interest, unless existing parties
                     adequately represent that interest.
The Rule is to be broadly construed in favor of potential intervenors. Purnell v. City

of Akron, 925 F.2d 941, 950 (6th Cir. 1991).

      A party seeking to intervene as of right under Fed. R. Civ. P. 24(a) must

establish four elements: (1) the timeliness of the application to intervene, (2) the

applicant’s substantial legal interest in the case, (3) the impairment of the applicant’s

ability to protect that interest in the absence of intervention, and (4) inadequate

representation of that interest by parties already before the court.” Michigan State

AFL-CIO v. Miller, 103 F.3d 1240, 1245 (6th Cir. 1997). The City meets each of the

required elements.

   A. The City’s Application is Timely

      The timeliness of a motion to intervene is determined by the circumstances of

the motion. Grubbs v. Norris, 870 F.2d 343, 345-46 (6th Cir. 1989). To determine

whether the motion is timely, the reviewing court considers the following factors:

“(1) the point to which the suit has progressed; (2) the purpose for which intervention


                                            2
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is sought; (3) the length of time preceding the application during which the proposed

intervenor knew or reasonably should have known of his or her interest in the case;

(4) the prejudice to the original parties due to the proposed intervenor’s failure, after

he or she knew or reasonably should have known of his or her interest in the case, to

apply promptly for intervention; and (5) the existence of unusual circumstances

militating against or in favor of intervention.” U.S. v. City of Detroit, 712 F.3d 925,

930-31 (6th Cir. 2013) (citing to Grubbs, 870 F.2d at 345-46).

      The City’s application to intervene is timely. The City filed its Motion only

two days after the Complaint was filed. No hearings or proceedings have yet been

held. The City is intervening to uphold the results of a lawfully conducted election,

to preserve the right to vote for hundreds of thousands of Detroit residents, and to

defend the conduct of City election officials against baseless allegations. There is no

prejudice from intervention, because there was no delay in seeking intervention.

Finally, the unconstitutionality and severity of Plaintiffs’ requested relief militates

in favor of granting intervention, and there are no unusual circumstances weighing

against intervention.

   B. The City has a Substantial Legal Interest in this Matter

      The Sixth Circuit subscribes to “a rather expansive notion of the interest

sufficient to invoke intervention of right.” Michigan State AFL-CIO, 103 F.3d, 1245.




                                           3
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“The inquiry into the substantiality of the claimed interest is necessarily fact-

specific.” Id.

       The City has a substantial interest in defending this lawsuit and in preserving

the right to vote of its citizens, validating the integrity of local election results and

defending the conduct of its election officials. While the City was not named in the

Complaint as a defendant, a substantial amount—if not a majority—of the

allegations relate to the purported actions or inactions of the City and its election

officials. Plaintiffs repeatedly refer to alleged fraud regarding the processing and

tabulation of absentee ballots. Under Michigan election law, the initial processing

and tabulation of absentee ballots is done at the City level. The processing and

tabulation of absentee ballots at Hall E of the TCF Center was controlled by the City,

not any of the named Defendants. At other times in their Complaint, Plaintiffs make

direct (false) allegations against election officials at the Detroit Department of

Elections and against City Election Inspectors. See, e.g., Compl., ¶¶ 101-102, ECF

No. 1, PageID.34-35. Indeed, most of the allegations are against City of Detroit

inspectors or officials. The City has a right to defend against these frivolous

allegations.

       Finally, the City has an undeniable interest in protecting the voting rights of

its citizens. Plaintiffs seek the extraordinary and unprecedented remedy of de-

certifying the results of a duly conducted election. Essentially, Plaintiffs are asking



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the Court to disenfranchise all Detroit voters based on preposterous legal theories

and false allegations. Plaintiffs’ proposed remedy would unequivocally result in the

disenfranchisement all of Detroit voters. That is, of course, the most anti-democratic

measure imaginable. There is no conceivable way that any of Plaintiffs’ frivolous

allegations should result in a single voter being disenfranchised, let alone hundreds

of thousands from the State’s largest city (or indeed, every single voter in the State).

It is hard to conceive of a situation where a proposed intervenor would have a

stronger interest than is present here.2

   C. The City’s Interests Will be Impaired without Intervention

      “To satisfy [the third] element of the intervention test, a would-be intervenor

must show only that impairment of its substantial legal interest is possible if

intervention is denied.” Mich. State AFL–CIO, 103 F.3d at 1247 (citing Purnell, 925

F.2d at 948. (emphasis added). “This burden is minimal.” Id. Rule 24(a) does not

require the intervenor to show that the interest will be impaired, only that impairment

is possible. Purnell, 925 F.3d at 948.



      2
       A significant portion of Plaintiffs’ allegations and supporting affidavits have
been copied directly from the complaint in Donald J. Trump Campaign, Inc. et al v.
Benson et al, a lawsuit filed in the federal court for the Western District of Michigan.
WDMI Case No. 1:20-cv-1083. As here, the City was not originally named as a
defendant in DJT v. Benson, but the district court granted the City’s (unopposed)
Motion to Intervene as a Defendant. See Ex. 2, Opinion and Order (Nov. 17, 2020).
The campaign and the other plaintiffs voluntarily dismissed their Complaint on
November 19, 2020.

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      The City’s interests would be affected and could be impaired by this lawsuit.

The City has an interest in protecting the voting rights of its citizens, affirming the

integrity of election results and defending the conduct of local election officials.

Plaintiffs have not hidden the fact that their ultimate goal is to have hundreds of

thousands of Detroit votes removed from Michigan’s official tally. Moreover, this

action may significantly undermine the faith and public confidence in the City’s

election results. For months, various groups have alleged widespread election fraud

across the country without proof. In the weeks following the election, much of the

focus has been on certain cities in “battleground” states—with a strong emphasis on

Detroit and Philadelphia. In the past three weeks, plaintiffs have filed multiple,

similar lawsuits both in Michigan and across the country.

   D. Existing Parties Cannot Fully Protect the City’s Interests

      A party seeking to intervene is required to show that its interests will not be

adequately protected by existing parties to the litigation. Michigan State AFL-CIO,

103 F.3d at 1247. This is a minimal burden; a movant need only show that

representation “may be inadequate.” Id. (emphasis added) (quoting Linton by Arnold

v. Commissioner of Health and Environment, State of Tenn., 973 F.2d 1311, 1319

(6th Cir. 1992).

      While the current defendants certainly have an interest in defending against

frivolous lawsuits and upholding the integrity of the State’s elections, most of the


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key underlying factual allegations relate to the City of Detroit. The election in

question was conducted by the City of Detroit. The City is best suited to respond to

these attacks.

 II.    IN THE ALTERNATIVE, PERMISSIVE INTERVENTION SHOULD
        BE GRANTED

       In the alternative, this Court should permit the City to intervene pursuant to

Fed. R. Civ. P. 24(b). The Rule specifies that “[o]n timely motion, the court may

permit anyone to intervene who … has a claim or defense that shares with the main

action a common question of law or fact.” The proposed intervenor should “establish

that the motion for intervention is timely and alleges at least one common question

of law or fact.” United States v. Michigan, 424 F.3d 438, 445 (6th Cir. 2005) (citing

Michigan State AFL–CIO, 103 F.3d at 1248). “Once these two requirements are

established, the district court must then balance undue delay and prejudice to the

original parties, if any, and any other relevant factors to determine whether, in the

court’s discretion, intervention should be allowed.” U.S. v. Michigan, 424 F.3d at

445.

       The City should be permitted to intervene. This application to intervene is

timely filed and the City has defenses to these frivolous claims that share common

questions of law and fact.




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 III.   THIS COURT SHOULD GRANT THE CITY LEAVE TO FILE A
        RESPONSIVE PLEADING ON THE SAME SCHEDULE AS NAMED
        DEFENDANTS

        The City moves for leave to file a responsive pleading on the same date that

 the named defendants are required to file a pleading in response to the Complaint.

 While Fed. R. Civ. P. 24(c) states that a motion to intervene should be accompanied

 by a pleading setting out the “claims or defenses for which intervention is sought,”

 the Sixth Circuit has held that the failure to satisfy this Rule is not a valid basis to

 deny a motion to intervene. Public Interest Legal Foundation, Inc. v. Winfrey, 463

 F.Supp.3d 795, 802 (E.D. Mich. 2020) (quoting League of Women Voters of

 Michigan v. Johnson, 902 F.3d 572, 580 (6th Cir. 2018)). Instead, the Sixth Circuit

 takes a “lenient approach to the requirements of Rule 24(c),” especially where there

 is no showing that prejudice will result from granting intervention where the motion

 to intervene did not include a proposed pleading. League of Women Voters, 902

 F.3d at 580. Because this litigation is still in its infancy, and because the City has

 not delayed in filing its Motion to Intervene, Plaintiffs cannot show that any harm

 will result from the Court granting the City’s motion without an accompanying

 pleading.




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          This Court should exercise its discretion and permit the City to file a

 responsive pleading on a schedule consistent with that of the named defendants.3

                                  CONCLUSION

      WHEREFORE, for the foregoing reasons, the City of Detroit respectfully

requests that this Court enter an order allowing it to intervene as a Defendant and to

file a responsive pleading on the same schedule as the named defendants.

                                                  Respectfully submitted,

 November 27, 2020                                FINK BRESSACK

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      3
        In the DJT v. Benson case, the NAACP similarly asked that it be allowed to
intervene without submitting a proposed pleading. The district court granted that
request for the same reasons stated in this brief. Ex. 2.

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                          CERTIFICATE OF SERVICE

      I hereby certify that on November 27, 2020, I electronically filed the foregoing

paper with the Clerk of the court using the electronic filing system, which sends

notice to all counsel of record.

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